        Case 1:24-cv-00941-JKB           Document 451    Filed 11/26/24     Page 1 of 12



                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                   NORTHERN DIVISION

    In the Matter of the Petition

                           Of

    GRACE OCEAN PRIVATE LIMITED,                    Docket No. JKB 24-cv-941
    as Owner of the M/V DALI,
                                                    IN ADMIRALTY
                          And

    SYNERGY MARINE PTE LTD, as
    Manager of the M/V DALI,

    for Exoneration from or Limitation of
    Liability


       THE STATE CLAIMANTS’ MOTION AND MEMORANDUM OF LAW IN
         SUPPORT OF THEIR MOTION FOR PARTIAL LIFTING OF STAY1

         By statute and Supreme Court precedent, certain categories of claims are not subject

to limitation under the Limitation of Liability Act, 46 U.S.C. §§ 30501, et seq. (“Limitation

Act”). Among them are claims for breach of contract and certain statutory environmental

claims. The State Claimants have asserted multiple such claims against Petitioners, Grace

Ocean Private Limited and Synergy Marine PTE Ltd. Because those claims are unaffected

by the Limitation Act, the State Claimants request this Court modify the current restraining

order (ECF No. 08) to allow them to prosecute those claims outside of this limitation



1
      The “State Claimants” are the State of Maryland, by and through Anthony G. Brown, Attorney
      General of Maryland; the Maryland Transportation Authority, the Maryland Port
      Administration, and the Maryland Department of the Environment.
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Error! Unknown document property name.
       Case 1:24-cv-00941-JKB            Document 451      Filed 11/26/24     Page 2 of 12



proceeding, consistent with their rights under the savings-to-suitors clause, 28 U.S.C. §

1333(1). Consideration of this motion does not require the resolution of any disputed facts.


                             RELEVANT FACTUAL BACKGROUND

    A. Basic Facts Involving the Allision

        The background facts below are taken from the Marine Investigation Preliminary

Report issued by the National Transportation Safety Board (“NTSB”) on May 14, 2024.2

These facts are useful in framing the issues for the Court’s consideration.3

             • The DALI docked at the Seagirt Marine Terminal in Baltimore on March
               23, 2024. (Report at 13.)

             • Two days later, on March 25, while still berthed at the Seagirt Marine
               Terminal, the DALI suffered two electrical blackouts. (Report at 13-14.)

             • The DALI departed the Seagirt Marine Terminal early on March 26. Not
               long thereafter, the ship suffered two more electrical blackouts. (Report
               at 9-11.)

             • The two blackouts on March 26 caused the DALI to lose propulsion and
               rendered her steering ineffective. (Report at 10.)

             • At 0129 hours on March 26, the DALI struck the Francis Scott Key
               Bridge (“FSK Bridge”), causing it to collapse. (Report at 12.)

             • Many containers aboard the DALI contained hazardous chemicals and
               were at risk of damage due to the allision. (Report at 17.)



2
    https://www.ntsb.gov/investigations/Documents/DCA24MM031_PreliminaryReport%203.pdf
    (last visited on November 26, 2024).
3
    Courts may take judicial notice of factual findings in NTSB reports. Major v. CSX Transp.,
    278 F. Supp. 2d 597, 604-05 (D. Md. 2003) (“The portions of the NTSB Report cited by
    Plaintiff in her Amtrak Opposition are not excludable . . . because they are part of the factual
    investigation narrative of the NTSB Report rather than the analysis, findings, or
    recommendations sections of the Report. The references . . . are also not excludable as hearsay
    because the NTSB Report qualifies as a public record as defined in [FRE] 803(8).”).
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Error! Unknown document property name.
       Case 1:24-cv-00941-JKB            Document 451   Filed 11/26/24     Page 3 of 12



             • The FSK Bridge collapsed onto the bow of the DALI and into the
               Patapsco River, together with a number of the containers that had been
               aboard the ship. (Report at 12, 17.)4


    B. The MPA Tariff

        The Maryland Port Administration (“MPA”) owns the Seagirt Marine Terminal.5

The MPA has published a tariff, the Terminal Services Schedule No. 23 (the “Tariff”), that

applies to all vessels using that facility. The Tariff is publicly available on the MPA

website.6 The Tariff provides the MPA and the State with certain contractual rights with

respect to vessels that berth at the terminal.


    C. The State Claimants’ Answer and Claim

        The Answer and Claim filed by the State Claimants (ECF No. 157) asserts causes

of action under the Tariff and causes of action under federal and state environmental

statutes. Specifically, the pleading includes three breach-of-contract claims (Counts XI,

XII, and XIII), and five environmental claims (Counts VI, VII, VIII, IX, and X). None of

these eight causes of action are eligible for limitation.




4
    The NTSB Report confirms that the DALI’s allision with the FSK Bridge caused debris and
    other contaminants to fall into the Patapsco River. However, the extent of the environmental
    damage to the river and the riverbed is not yet determined.
5
    https://mpa.maryland.gov/Pages/seagirt-marine-terminal.aspx (last visited on November 26,
    2024).
6
    The Tariff can be found at https://mpa.maryland.gov/Documents/MPAScheduleNo23.pdf (last
    visited on November 26, 2024). The Tariff has also been filed with the Federal Maritime
    Commission (“FMC”) and the URL for accessing the Tariff is listed on the FMC website at
    https://www2.fmc.gov/FMC1Users/scripts/ExtReports.asp?tariffClass=mto (last visited on
    November 26, 2024).
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Error! Unknown document property name.
       Case 1:24-cv-00941-JKB            Document 451   Filed 11/26/24   Page 4 of 12



                                           ARGUMENT

        This motion is procedural, not substantive. The State Claimants are not asking this

Court to evaluate the merits of any claims. Rather, they ask only that the Court evaluate

whether two categories of claims – breach of contract claims and statutory environmental

claims – are eligible for limitation under the Limitation Act. Upon concluding that the

claims are not subject to limitation, the State Claimants request that this Court modify its

prior stay order to allow those claims to be prosecuted in a separate proceeding in the State

Claimants’ choice of venue.


    A. Claims for Breach of Contract are Not Subject to Limitation of Liability

        It is hornbook maritime law that contract-based claims against a vessel owner are

personal in nature and are not subject to limitation under the Limitation Act. See American

Car & Foundry Co. v. Brassert, 289 U.S. 261, 264 (1933) (shipowners are entitled to limit

liability for acts of the master and crew done without their privity or knowledge, but remain

liable for their own fault, neglect, and contracts); Pendleton v. Benner Line, 246 U.S. 353,

356-57 (1918) (holding that the Limitation Act does not limit owners’ liability for

contractual obligations); Richardson v. Harmon, 222 U.S. 96, 106 (1911) (the Limitation

Act “leaves [the owner] liable for his own fault, neglect and contracts.”). Accordingly,

claims for breach of contract are not properly adjudicated in a limitation action. Orion




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Error! Unknown document property name.
       Case 1:24-cv-00941-JKB            Document 451     Filed 11/26/24      Page 5 of 12



Marine Constr., Inc. v. Carroll, 918 F.3d 1323, 1332 n.3 (11th Cir. 2019) (“contracts entered

into by vessel owners are personal and not subject to the [Limitation] Act.”).7

        The law is also clear that an action to enforce a tariff “is simply one for the

enforcement of a contract.” Broadvox-Clec, LLC v. AT&T Corp., No. 13-1130, 2014 WL

3013275, at *10 (D. Md. July 2, 2014) (quoting Advamtel, LLC v. AT&T Corp., 105 F.

Supp. 2d 507, 511 (E.D. Va. 2000)). Courts have consistently upheld this principle,

enforcing tariffs as implied contracts. See Ondimar Transportes Maritimos v. Beatty St.

Prop., Inc., 555 F.3d 184, 185 (5th Cir. 2009) (holding that a tariff was enforceable against

the owner and operator of a vessel as an implied contract); Lofthouse Mfg. Ltd. v. Ports Am.

Baltimore, Inc., No. 15-03821, 2016 WL 4662337, at *6 (D. Md. Sept. 7, 2016) (“A marine

terminal operator’s schedule … is enforceable by an appropriate court as an implied

contract.”); Sea Land Indus., Inc. v. Gen. Ship Repair Corp., 530 F. Supp. 550, 556 (D. Md.

1982) (reiterating that the contract between the MPA and a vessel for the use of the terminal

is a maritime contract).

        Here, the DALI’s owner and operator became bound by the terms of the MPA Tariff

when the ship berthed at the Seagirt Marine Terminal. Counts XI, XII, and XIII are

contractual claims based on the MPA Tariff and are therefore not subject to limitation under

the Limitation Act.



7
    This rule also applies to contractual indemnity obligations. Mediterranean Shipping Co. S.A.
    Geneva v. POL-Atl., 229 F.3d 397, 403 (2d Cir. 2000) (indemnity claims “are based on personal
    contract, and, as such, they are not subject to limitation under the Act.”); S&E Shipping Corp.
    v. Chesapeake & Ohio Ry. Co., 678 F.2d 636, 644 (6th Cir. 1982) (liability stemming from
    indemnity claims “is not subject to limitation under the Act.”).
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Error! Unknown document property name.
       Case 1:24-cv-00941-JKB            Document 451   Filed 11/26/24   Page 6 of 12



    B. Environmental Claims are Not Subject to Limitation of Liability

        Like claims for breach of contract, causes of action based upon the violation of

environmental statutes, including but not limited to those seeking civil penalties authorized

by statute, are not subject to limitation under the Limitation Act.

        First, claims brought pursuant to federal environmental statutes, including the Oil

Pollution Act of 1990 (“OPA”), the Comprehensive Environmental Response,

Compensation, and Liability Act (“CERCLA”), and the Federal Water Pollution Control

Act (“CWA”), are not subject to the Limitation Act. See 33 U.S.C. § 2718(a) (OPA); 42

U.S.C. § 9607(h) (CERCLA); see also Metlife Cap. Corp. v. M/V EMILY S., 132 F.3d 818,

822 (1st Cir. 1997) (the Limitation Act does not apply to OPA claims); In re Wilkie, No.

11-00205, 2012 WL 1918775, at *3 (D. Alaska May 24, 2012) (noting the “inapplicability

of CERCLA to Limitation Act cases”); United States v. CF Indus., Inc., 542 F. Supp. 952,

955-56 (D. Minn. 1982) (the Limitation Act does not apply to CWA claims).

        Second, OPA, CERCLA, and the CWA provide a floor for liability, allowing states

to enact more stringent environmental requirements. Indeed, OPA and CERCLA expressly

authorize states to enact laws providing for additional liability. See 33 U.S.C. §§ 2718(a),

1370 (OPA); 42 U.S.C. § 9614 (CERCLA). OPA and CERCLA further contain Congress’

express intent to exempt the state analogue statutes from the Limitation Act. 33 U.S.C. §

2718(a); 42 U.S.C. § 9607(h); see also Bouchard Transp. Co. v. Updegraff, 147 F.3d 1344,

1352 (11th Cir. 1998) (“OPA 90 authorizes states to adopt liability laws for oil spills and

exempts those laws from the provisions of the [Limitation Act].”); Lexington Ins. Co. v.

Langei, No. 12-1036, 2014 WL 3563380, at *2 (W.D. Wash. 2014) (holding that the
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Error! Unknown document property name.
       Case 1:24-cv-00941-JKB            Document 451   Filed 11/26/24    Page 7 of 12



Limitation Act did not apply to claims brought under Washington’s Model Toxics Control

Act which, like CERCLA, applies to the cleanup of hazardous substances); In Matter of

Jahre Spray II K/S, No. 95-3495, 1996 WL 451315, at *6 (D.N.J. Aug. 5, 1996) (“[T]he

Court has found that it does not have authority under the [Limitation] Act to enjoin claims

pursuant to the OPA, it similarly finds that it lacks authority in this limitation proceeding

to enjoin the federal, state and common laws claims raised by the claimants related to the

oil spill.”).

        Although the CWA does not contain the same express language found in OPA and

CERCLA, the “notwithstanding” language in the CWA’s savings clause accomplishes the

same purpose by reflecting Congress’ intent that state analogue statutes are exempt from

the Limitation Act. See 33 U.S.C. § 1370 (“Except as expressly provided in this chapter,

nothing in this chapter shall (1) preclude or deny the right of any State or political

subdivision thereof or interstate agency to adopt or enforce (A) any standard or limitation

respecting discharges of pollutants, or (B) any requirement respecting control or abatement

of pollution . . .”); see also In re Hokkaido Fisheries, Co., Ltd., 506 F. Supp. 631, 634 (D.

Alaska 1981) (section 1321(f) of the CWA precludes application of the Limitation Act to

CWA claims).

        Additionally, claims seeking to recover civil regulatory penalties may not be limited

by the Limitation Act. See In re Transporter Marine, Inc., 217 F.3d 335, 338-39 (5th Cir.

2000) (“We do not read the Limitation Act to embody an intention to protect against fines

and forfeitures in the form of civil regulatory penalties.”); United States v. CF Indus., Inc.,


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Error! Unknown document property name.
       Case 1:24-cv-00941-JKB            Document 451    Filed 11/26/24      Page 8 of 12



542 F. Supp. 952, 955 (D. Minn. 1982) (noting that the Limitation Act “does not

specifically cover suits for statutory penalties”).

        Here, the State Claimants have brought two causes of action under CERCLA

(Counts IX and X) and three causes of action under Maryland’s environmental statutes

authorized by CERCLA, OPA, and the CWA (Counts VI, VII, and VIII). For all five

claims, the State Claimants seek to recover damages and civil penalties for the violations

of the statutes.8 None of these five claims is subject to limitation under the Limitation Act.


    C. Where Claims are Not Subject to Limitation, the State Claimants are Entitled
       to Pursue Them in the Forum of Their Choosing

        Maritime law distinguishes between in rem claims and in personam claims.

Although the former must be brought in federal court, the savings-to-suitors clause, 28

U.S.C. § 1333(1), preserves a plaintiff’s right to bring in personam maritime claims in non-

maritime courts. Gilmore and Black, THE LAW OF ADMIRALTY (1957), at 36 (“Where the

suit is in personam, it may be brought either in admiralty or, under the saving clause, in an

appropriate non-maritime court, by ordinary civil action.”).9

        Because the Limitation Act is in tension with the rights embodied in the savings-to-

suitors clause, when claims are not subject to limitation, “plaintiffs generally have been

able to choose the forum in which they bring in personam claims.” In re Lion Air Flight



8
    The civil penalties available under state law arise under Md. Code Ann., Envir. §§ 4-417, 7-
    266(a), and 9-342.
9
    This rule applies to claims for breach of a maritime contract. Atl. & Gulf Stevedores, Inc. v.
    Ellerman Lines, Ltd., 369 U.S. 355, 359 (1962) (“…a suit for breach of a maritime contract,
    while it may be brought in admiralty, may also be pursued in an ordinary civil action”).
                                                8

Error! Unknown document property name.
       Case 1:24-cv-00941-JKB            Document 451    Filed 11/26/24     Page 9 of 12



JT 610 Crash, 110 F.4th 1007, 1014 (7th Cir. 2024) (providing a historical overview of

admiralty jurisdiction and the savings-to-suitors clause). Said differently, “[w]ith the

reason for concursus and restraint of other proceedings removed, no reason remained to

deprive plaintiffs of their choice of forum or of their statutory right to jury trials.” Wheeler

v. Marine Navigation Sulphur Carriers, 764 F.2d 1008, 1011 (4th Cir. 1985); see also

Pickle v. Char Lee Seafood, Inc., 174 F.3d 444, 449-51 (4th Cir. 1999) (“In the event that

the limitation of liability is denied, the court should lift the stay and provide the claimants

a choice to pursue their claims in the limitation-of-liability action or to revive their original

actions where they have demanded trials by jury.”); Complaint of McCarthy Bros.

Co./Clark Bridge, 83 F.3d 821, 827 (7th Cir. 1996) (when a shipowner is not entitled to

limit its liability, “the federal court must relinquish exclusive jurisdiction and allow the

claimant to proceed in state court”).

        Here, the State Claimants have brought eight causes of action that are not subject to

limitation under the Limitation Act. Because there is no “reason for concursus” with

respect to those claims, the State Claimants should be allowed to pursue them outside the

limitation proceeding in the forum of their choice.


                                          CONCLUSION

        For the reasons stated above, the State Claimants respectfully ask this Court to

modify its prior restraining order to allow them to sue Grace Ocean Private Limited and

Synergy Marine PTE Ltd. in the venue of their choosing in pursuit of the following causes




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Error! Unknown document property name.
      Case 1:24-cv-00941-JKB             Document 451   Filed 11/26/24    Page 10 of 12



of action identified in their Answer and Claim: Counts XI, XII, and XIII (contractual claims

based on the MPA Tariff), and Counts VI, VII, VIII, IX, and X (environmental claims).



                                              Respectfully submitted,


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Error! Unknown document property name.
      Case 1:24-cv-00941-JKB             Document 451   Filed 11/26/24    Page 11 of 12



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Error! Unknown document property name.
      Case 1:24-cv-00941-JKB             Document 451   Filed 11/26/24     Page 12 of 12



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                                    CERTIFICATE OF SERVICE

      I CERTIFY that on this 26th day of November 2024, the foregoing was filed in the
United States District Court for the District of Maryland via the Court’s CM/ECF filing
system, which will provide notice of this failing to all counsel of record.

                                              /s/ Margaret Fonshell Ward
                                              Margaret Fonshell Ward




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